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 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11 DAVID RIBBLE,                            )   Case No. 5:21-cv-00213-JWH-KKx
                                            )
12                    Plaintiff,            )   ORDER GRANTING JOINT
                                            )   STIPULATION TO DISMISS
13              vs.                         )   ENTIRE ACTION WITH
                                            )   PREJUDICE
14 LIFE INSURANCE COMPANY OF                )
   NORTH AMERICA,                           )
15                                          )
             Defendant.                     )
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                                            1                 Case No. 5:21-cv-00213-JWH-KK
                                                   ORDER GRANTING JOINT STIPULATION TO
     177606.1
                                                   DISMISS ENTIRE ACTION WITH PREJUDICE
Case 5:21-cv-00213-JWH-KK Document 26 Filed 10/27/21 Page 2 of 2 Page ID #:90



 1              Based upon the stipulation of the parties and for good cause shown,
 2              It is hereby ORDERED that this action, Case No. 5:21-cv-00213-JWH-KKx,
 3 is dismissed in its entirety as to all defendants with prejudice, pursuant to
 4 Rule 41(a)(2) of the Federal Rules of Civil Procedure. All dates set in this matter are
 5 hereby vacated and taken off calendar.
 6              It is hereby further ORDERED that each party shall bear his or its own
 7 attorneys’ fees and costs in this matter.
 8              IT IS SO ORDERED.
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10 Dated: October 27, 2021
11                                             Hon. John W. Holcomb
                                               United States District Judge
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                                                   2                 Case No. 5:21-cv-00213-JWH-KK
                                                          ORDER GRANTING JOINT STIPULATION TO
     177606.1
                                                          DISMISS ENTIRE ACTION WITH PREJUDICE
